900 F.2d 256Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Benjamin Frank FAIRLEY, Defendant-Appellant.
    No. 89-6905.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  March 5, 1990.Decided:  March 21, 1990.Rehearing Denied April 25, 1990.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  Franklin T. Dupree, Jr., Senior District Judge.  (C/A No. 89-429-5-CIV;  CR No. 87-27-5-CR)
      Benjamin Frank Fairley, appellant pro se.
      Rocco Joseph deGrasse, Assistant United States Attorney, Raleigh, N.C., for appellee.
      E.D.N.C.
      AFFIRMED.
      Before ERVIN, Chief Judge, and PHILLIPS and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Benjamin Frank Fairley appeals from the district court's order refusing relief under 28 U.S.C. Sec. 2255.*   Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Fairley, CA-89-429-5-CIV;  CR-87-27-5-CR (E.D.N.C. Dec. 8, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         We interpret Fairley's claims attacking the execution of his sentence under 28 U.S.C. Sec. 2241
      
    
    